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          IN THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF COLORADO

          Civil Action No. 1:21-CV-3417-NYW
          __________________________________________________

          DEPOSITION OF HOLLY NICHOLSON-KLUTH
          July 7, 2022
          __________________________________________________

          HOLLY KLUTH,

          Plaintiff,

          vs.

          TONY SPURLOCK, Individually and in
          his official capacity as Douglas County
          Sheriff,

          Defendant.
          __________________________________________________


          APPEARANCES:

          ·   ·   ·RATHOD|MOHAMEDBHAI, LLC
          ·   ·   · · · ·By Matthew J. Cron, Esq.
          ·   ·   · · · · · 2701 Lawrence Street Suite 100
          ·   ·   · · · · · Denver, Colorado· 80205
          ·   ·   · · · · · · Appearing on behalf of Plaintiff

          ·   ·   ·WELLS, ANDERSON & RACE, LLC
          ·   ·   · · · ·By William T. O'Connell, III, Esq.
          ·   ·   · · · · · 1700 Broadway, Suite 1020
          ·   ·   · · · · · Denver, Colorado· 80290
          ·   ·   · · · · · · Appearing on behalf of Defendant

          Also Present: Tony Spurlock




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     ·1· ·to make a statement, as you refer to it in the
     ·2· ·complaint, about distancing yourself from his
     ·3· ·endorsement of Lisa Neal-Graves.
     ·4· · · · · · · Is that accurate?
     ·5· · · · A· · ·Yeah.
     ·6· · · · Q· · ·How many conversations did you have
     ·7· ·with the sheriff about that?
     ·8· · · · A· · ·Maybe one or two.
     ·9· · · · Q· · ·When was the first, if you recall?
     10· · · · A· · ·I don't recall.
     11· · · · Q· · ·Were there any witnesses to that
     12· ·conversation other than the two of you?
     13· · · · A· · ·I don't think so.
     14· · · · Q· · ·Where did that conversation take place?
     15· · · · A· · ·I believe one of them was in his
     16· ·office, but I don't have a lot of recollection of
     17· ·it.· I just remember us discussing it.
     18· · · · Q· · ·What specifically do you recall the
     19· ·sheriff stating?
     20· · · · A· · ·What I told him?
     21· · · · Q· · ·Well, yeah.· Let's just --· Let's take
     22· ·it from the top, then.· What you told him.· What
     23· ·he told you.· Let's start with what you told him.
     24· · · · A· · ·Over the month or two before he made
     25· ·it --· Sometime during the summer, maybe up until



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     ·1· ·the time he made the endorsement, he told me a
     ·2· ·couple times that he was thinking about doing it.
     ·3· ·And I just remember saying, "You know I can't have
     ·4· ·anything to do with that.· I'm thinking about
     ·5· ·running for sheriff," or something along those
     ·6· ·lines.· I --· And I don't really recall the words,
     ·7· ·but something to the effect of "I would have to
     ·8· ·make a statement personally that I didn't agree
     ·9· ·with that."
     10· · · · Q· · ·Okay.· What was the sheriff's reaction?
     11· · · · A· · ·I felt like he understood.
     12· · · · Q· · ·Well, how did you arrive at that
     13· ·feeling?
     14· · · · A· · ·I don't remember his words, but it
     15· ·wasn't negative.
     16· · · · Q· · ·Okay.· Well, was it positive?
     17· · · · A· · ·It was --· It --· To me --· From what I
     18· ·recollect, it was more of just, "Yeah, right.                       I
     19· ·understand," or something to that effect.
     20· · · · Q· · ·Did he actually say that?
     21· · · · A· · ·I don't remember the words.
     22· · · · Q· · ·Okay.· Did you memorialize that
     23· ·conversation at any time?
     24· · · · A· · ·No.
     25· · · · Q· · ·Now, that conversation or those



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     ·1· ·appeal your termination.
     ·2· · · · · · · What does that mean?
     ·3· · · · A· · ·Whenever you give discipline, you're
     ·4· ·always required to put that you have so many days
     ·5· ·to appeal in writing and how to appeal and who to
     ·6· ·appeal to, and I was given none of that
     ·7· ·information.
     ·8· · · · Q· · ·Well, you knew you could appeal
     ·9· ·pursuant to --
     10· · · · A· · ·Pursuant to policy, yeah.
     11· · · · Q· · ·-- Exhibit 16, right?
     12· · · · A· · ·But nothing that happened in that
     13· ·meeting went by policy.
     14· · · · Q· · ·Okay.· Well, that's your contention,
     15· ·and I understand.· But, clearly, pursuant to the
     16· ·policy you had a right to appeal?
     17· · · · A· · ·That's right.
     18· · · · Q· · ·And you didn't exercise that right?
     19· · · · A· · ·No.
     20· · · · Q· · ·Why not?
     21· · · · A· · ·Because nothing in that meeting
     22· ·followed policy.
     23· · · · Q· · ·Okay.· So the fact that, in your
     24· ·opinion, other portions of that meeting didn't
     25· ·violate policy, then that made -- that caused you



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     ·1· ·hands of Sheriff Spurlock, allegedly?
     ·2· · · · A· · ·I think that covers it.
     ·3· · · · Q· · ·Have you been employed in any capacity
     ·4· ·since your termination from the sheriff's office?
     ·5· · · · A· · ·No.
     ·6· · · · Q· · ·Have you sought employment in any
     ·7· ·respect since your termination?
     ·8· · · · A· · ·Yes.
     ·9· · · · Q· · ·And what employment have you sought?
     10· · · · A· · ·I have been --· And I applied for
     11· ·unemployment.· During that time from about July on
     12· ·or so, I was looking at LinkedIn boards at
     13· ·Arapahoe Works! and Arapahoe public posting
     14· ·boards, Arapahoe/Douglas Works!· I think that's
     15· ·what it's called.
     16· · · · · · · I applied at three -- one -- a job at
     17· ·Metropolitan State College as an instructor, an
     18· ·adjunct instructor, as well as a couple different
     19· ·security divisions -- or companies that I felt
     20· ·like I had the skills for.· And then I did some
     21· ·job retraining and took my real estate courses
     22· ·during the fall, and I recently passed my state
     23· ·and national test.
     24· · · · Q· · ·For real estate?
     25· · · · A· · ·Yes.



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     ·1· · · · Q· · ·With respect to the security jobs, you
     ·2· ·mentioned a job --· Did you say Metro State?
     ·3· · · · A· · ·Uh-huh.
     ·4· · · · Q· · ·Did you maintain records of those
     ·5· ·applications?
     ·6· · · · A· · ·They were through LinkedIn, so I don't
     ·7· ·know if that's a record.· I did --
     ·8· · · · Q· · ·Okay.
     ·9· · · · A· · ·-- write the dates down and so forth
     10· ·when I applied.
     11· · · · Q· · ·All right.· Did you write those dates
     12· ·down in some sort of journal?
     13· · · · A· · ·Yeah, in a journal.
     14· · · · Q· · ·Okay.· If you could produce those --
     15· ·that -- those pages of that journal to reflect
     16· ·your job search, I would appreciate it.· Again,
     17· ·I'm not experienced on LinkedIn, but if there's
     18· ·any way you can somehow print --
     19· · · · A· · ·Yeah.· I don't know if I can, but I'll
     20· ·see.
     21· · · · Q· · ·-- the application.
     22· · · · · · · All right.· So how many jobs in total,
     23· ·then, do you think you've applied for?
     24· · · · A· · ·Three during that time period.
     25· · · · Q· · ·Three.· All right.· When was --· Do you



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     ·1· ·recall the rough dates of when you applied in
     ·2· ·relation to your termination date?
     ·3· · · · A· · ·Sometime in the fall -- or between fall
     ·4· ·and December.· In late January or early February,
     ·5· ·the campaign became full-time, so I stopped
     ·6· ·applying and I stopped getting insurance --
     ·7· ·unemployment insurance.
     ·8· · · · Q· · ·Okay.· So the fall of 2021.· So we have
     ·9· ·three jobs, the one job at Metro State and two
     10· ·security related jobs?
     11· · · · A· · ·I think it was two security related
     12· ·jobs.
     13· · · · Q· · ·Did you interview for any of those?
     14· · · · A· · ·They never called me back.
     15· · · · Q· · ·When did you pass your real estate
     16· ·exam?
     17· · · · A· · ·I think it was the beginning of June.
     18· · · · Q· · ·Okay.· Of 2022?
     19· · · · A· · ·Uh-huh.
     20· · · · Q· · ·When did you start pursuing the real
     21· ·estate license?
     22· · · · A· · ·In September of -- late September or
     23· ·early October.
     24· · · · Q· · ·Of last year, obviously?
     25· · · · A· · ·(Deponent nodded head.)



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     ·1· ·STATE OF COLORADO)

     ·2· · · · · · · · · · )ss.· ·REPORTER'S CERTIFICATE

     ·3· ·COUNTY OF DENVER )

     ·4· · · · ·I, Tracy L. Harris, do hereby certify that I

     ·5· ·am a Certified Realtime Reporter, Registered Merit

     ·6· ·Reporter, within the State of Colorado; that

     ·7· ·previous to the commencement of the examination,

     ·8· ·the deponent was duly sworn to testify to the

     ·9· ·truth.

     10· · · · ·I further certify that this deposition was

     11· ·taken in shorthand by me at the time and place

     12· ·herein set forth, that it was thereafter reduced

     13· ·to typewritten form, and that the foregoing

     14· ·constitutes a true and correct transcript.

     15· · · · ·I further certify that I am not related to,

     16· ·employed by, nor of counsel for any of the parties

     17· ·or attorneys herein, nor otherwise interested in

     18· ·the result of the within action.

     19· · · · ·In witness whereof, I have affixed my

     20· ·signature this 18th day of July, 2022.

     21

     22

     23
     · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·_______________________________
     24·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Tracy L. Harris, CRR, RMR, RPR
     · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·216 - 16th Street, Suite 600
     25·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Denver, Colorado 80202



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